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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:20−cr−00299
                                                         Honorable Robert M. Dow Jr.
Hardy Lee Browner
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 12, 2020:


       MINUTE entry before the Honorable Robert M. Dow, Jr: On the Court's own
motion, the telephonic status hearing and motion hearing [23], [24], [25] are reset to
8/14/2020 at 9:45 a.m. Time change only. The call−in information for the 8/14/2020
hearing is as follows: Please use the Court's toll−free call−in number 877−336−1829,
conference access code is 6963747. Mailed notice (cdh, )




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